  Case 1:22-cr-00165-MSN Document 1 Filed 09/06/22 Page 1 of 5 PageID# 1
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                                                                                    |SEP - 6 2022
                    IN THE UNITED STATES DISTRICT COURT FOR T ^E CLtRK.u.s. district codrt
                                                                                    A[ TOiDRIA . VfRGlfvIA
                              EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


                                                   tJNDER SEAL
UNITED STATES OF AMERICA
                                                    Case No. l:22-cr-165
               V.

                                                   Counts 1-3: 26 U.S.C. §§ 5841,5861(d), 5871
                                                   (Possession of an Unregistered Firearm)
HATCHET M. SPEED,
                                                    Forfeiture Notice
               Defendant.




                                         INDICTMENT


                             September 2022 Term - At Alexandria

                                          COUNT ONE


                     Unlawful Possession of an Unregistered Firearm

       THE GRAND JURY CHARGES THAT:

       On or about June 22, 2022, in Alexandria, Virginia, within the Eastern District of

Virginia, the defendant, HATCHET M.SPEED, knowingly possessed a firearm, to wit; a

silencer (as defined in section 921 of Title 18 ofthe United States Code), not registered to him in

the National Firearms Registration and Transfer Record.


       (In violation ofTitle 26, United States Code, Sections 5841, 5861(d), 5871.)
  Case 1:22-cr-00165-MSN Document 1 Filed 09/06/22 Page 2 of 5 PageID# 2




                                         COUNTTWO


                     Unlawful Possession of an Unregistered Firearm

       THE GRAND JURY FURTHER CHARGES THAT:

       On or about June 22,2022, in Alexandria, Virginia, within the Eastern District of

Virginia, the defendant, HATCHET M.SPEED, knowingly possessed a firearm, to wit: a

silencer(as defined in section 921 of Title 18 ofthe United States Code), not registered to him in

the National Firearms Registration and Transfer Record.


       (In violation of Title 26, United States Code, Sections 5841,5861(d), 5871.)
  Case 1:22-cr-00165-MSN Document 1 Filed 09/06/22 Page 3 of 5 PageID# 3




                                        COUNT THREE


                     Unlawful Possession OF AN Unregistered Firearm

       THE GRAND JURY FURTHER CHARGES THAT:

       On or about June 22,2022, in Alexandria, Virginia, within the Eastern District of

Virginia, the defendant, HATCHET M.SPEED, knowingly possessed a firearm, to wit: a

silencer(as defined in section 921 of Title 18 ofthe United States Code), not registered to him in

the National Firearms Registration and Transfer Record.


       (In violation of Title 26, United States Code, Sections 5841,5861(d), 5871.)
  Case 1:22-cr-00165-MSN Document 1 Filed 09/06/22 Page 4 of 5 PageID# 4




                                           FORFEITURE


THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT THE PROPERTY
DESCRIBED BELOW IS SUBJECT TO FORFEITURE:

        Pursuant to Federal Rule of Criminal Procedure 32.2(a), the defendant, HATCHET M.

SPEED,is hereby notified that upon conviction ofany ofthe offenses set forth in this Indictment,

he shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d), 26 U.S.C. § 5872, and 28

U.S.C. § 2461(c), any firearm or ammunition involved in or used in such violation.

        Pursuant to Federal Rule of Criminal Procedure 32.2(a), the defendant, HATCHET M.

SPEED,is hereby notified that upon conviction of any ofthe offenses set forth in this Indictment,

he shall forfeit to the United States, pursuant to 49 U.S.C. § 80303 and 28 U.S.C. § 2461(c), any

aircraft, vehicle, or vessel involved in the violation.
    Case 1:22-cr-00165-MSN Document 1 Filed 09/06/22 Page 5 of 5 PageID# 5




        Pursuant to 21 U.S.C. § 853(p), the defendant, HATCHET M. SPEED, shall forfeit

substitute property, if, by any act or omission ofthe defendant, HATCHET M.SPEED,the

property referenced above cannot be located upon the exercise of due diligence; has been,

transferred, sold to, or deposited with a third party; has been placed beyond the jurisdiction ofthe

Court; has been substantially diminished in value; or has been commingled with other property

which cannot be divided without difficulty.

(Pursuant to Federal Rule of Criminal Procedure 32.2; Title 26, United States Code, Section
5872(a); Title 18, United States Code, Section 924(d); Title 49, United States Code, Section
80303; Title 21, United States Code, Section 853(p); and Title 28, United States Code, Section
2461(c).)




                                                             A TRUE BILL

                                                                 Pursuant to the E-GovcmmcnlAct,
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DATE                                                         FOREPERSON



       Jessica D. Aber
       United States Attorney


By:
       Thomas W.Traxler
       Amanda Lowe
       Assistant United States Attorneys
